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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )                  8:14CR356
                      Plaintiff,                 )
                                                 )
       vs.                                       )                   ORDER
                                                 )
FROYLAN CHAN,                                    )
ANGEL GABINO-GONZALEZ, and                       )
VICTOR LORENZO-GALLARDO,                         )
                                                 )
                      Defendants.                )

       This matter is before the court on the motion to continue by defendant Victor Lorenzo-
Gallardo (Lorenzo-Gallardo) (Filing No. 33). Lorenzo-Gallardo seeks a continuance of the trial
scheduled for January 26, 2015. Upon consideration, the motion will be granted. Trial will
be continued as to all defendants.


       IT IS ORDERED:
       1.      Lorenzo-Gallardo's motion to continue trial (Filing No. 33) is granted.
       2.      Trial of this matter as to all defendants is re-scheduled for March 9, 2015,
before Senior Judge Joseph F. Bataillon and a jury. The ends of justice have been served
by granting such motion and outweigh the interests of the public and the defendant in a
speedy trial. The additional time arising as a result of the granting of the motion, i.e., the time
between January 21, 2015, and March 9, 2015, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that
defendant's counsel requires additional time to adequately prepare the case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


       DATED this 21st day of January, 2015.
                                                     BY THE COURT:

                                                     s/ Thomas D. Thalken
                                                     United States Magistrate Judge
